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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 United States of America,                   )       CASE NO. 5:13 CR 420
                                             )
                       Plaintiff,            )       JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Benjamin Suarez, et al.,                    )       Memorandum of Opinion and Order
                                             )
                       Defendants.           )



        INTRODUCTION

        This matter is before the Court upon Defendant Michael Giorgio’s Motion to Dismiss

 Count 7, in part, and Count 9 of the Superseding Indictment (Doc. 70). Also pending are

 Defendant Benjamin Suarez’s Motion to Join Co-Defendant’s Motion to Dismiss Count 7, in

 part, and Count 9 of the Superseding Indictment (Doc. 67) and Defendant Suarez Corporation

 Industries, Inc.’s Motion to Join Defendant Michael Giorgio’s Motion to Dismiss Count 7, in

 part, and Count 9 of the Superseding Indictment (Doc. 79). The motions to join are GRANTED

 and, therefore the substantive ruling on defendant Giorgio’s motion to dismiss will apply with

 equal force to all defendants. Also pending is Defendant Suarez’s Motion to Dismiss Counts

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 Seven, Nine, and Ten of the Indictment and Incorporated Memorandum of Points and

 Authorities in Support Thereof (Doc. 116). For the reasons that follow, the motions to dismiss

 are DENIED. As set forth herein, the Court requests that the government confirm whether it

 intends to rely on the documents discussed by defendants in Giorgio’s motion as overt acts. The

 Court requests that this information be provided on or before May 14, 2014.



        FACTS

        Defendants were charged with various counts related to alleged violations of the Federal

 Election Campaign Act (“FECA”). In addition, count seven charges defendants with conspiracy

 to obstruct justice based, in part, on the allegation that SCI failed to comply with various grand

 jury subpoenas and, instead, withheld responsive documents. Count nine charges defendants

 with aiding and abetting the obstruction of justice by creating and then concealing the existence

 of a one-page note handwritten by Suarez and a five-page typewritten document containing

 Giorgio’s handwritten markings. Count ten charges defendants with aiding and abetting the

 obstruction of justice by concealing the existence of “an email between C.B., L.P., and others,

 and the existence of drafts of a letter Suarez exchanged with the 2012 Senate Campaign

 candidate that Suarez asked the candidate to write to another public official on SCI’s behalf

 regarding SCI’s business interests.”

        ANALYSIS

        1. Giorgio’s motion

        Defendants move to dismiss count seven, in part, and count nine. According to

 defendants, count seven must be dismissed to the extent it is based on the failure of SCI to


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 produce certain documents identified in the Indictment. Defendants argue that with respect to

 count seven, some of the documents are not responsive, did not exist at the time the specific

 subpoena was issued, or are exempt from disclosure by the attorney-client privilege. In

 response, the government argues that the Superseding Indictment properly alleges obstruction of

 justice in count seven. According to the government, the law requires only that the government

 identify the material elements of the offense, which in this case includes at least one overt act.

 The government notes that it lists numerous overt acts, only some of which even involve the

 failure to produce documents in response to the grand jury subpoenas. According to the

 government, it need only establish one of those acts at trial. The government further points out

 that it need not prove its case now. The government claims that defendants are in essence asking

 the government to prove each and every overt act at this time. That, however, is not the law. In

 reply, defendants argue that the issues they raise are issues of law, not fact. In other words, even

 accepting as true the government’s allegation that defendants failed to produce the documents,

 no crime could have occurred with respect to certain documents because they were either non-

 responsive or privileged.

        Upon review, the Court agrees with the government. Defendants do not challenge the

 sufficiency of the allegations in count seven. Rather, defendants parse out a handful of overt acts

 and request that the Court decide now whether these documents are responsive to at least one of

 four subpoenas.1 Because the government need only establish one overt act, this exercise would

 not materially advance this matter. The government may ultimately decide not to rely on any of



  1
          The Court is not entirely convinced that it is the Court’s job–and
          not that of the jury–to decide responsiveness.

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 the documents identified by defendants in proving count seven. Nonetheless, for the sake of

 judicial economy and to avoid unnecessary and possibly lengthy delays at trial, the Court

 requests that the government review the documents identified by defendants and attached to the

 motion2 and indicate to the Court whether it intends to rely on the failure to produce each

 document as an overt act. In this vein, the Court will be prepared to address these issues if and

 when they arise during trial. To be clear, the Court is not requesting that the government

 identify each and every overt act it intends to rely on. Rather, the Court requests that the

 government simply confirm whether it intends to rely on the specific documents identified by

 defendants as constituting overt acts.

        With regard to count nine, the Court finds that defendants’ motion is not well-taken.

 Here, defendants argue that a handwritten note and five-page typed document containing

 Giorgio’s handwriting is privileged and, therefore, the failure to provide the document in

 response to the grand jury subpoena cannot constitute obstruction. As set forth by separate

 Order, however, there is no indication that the document was ever provided to or reviewed by

 any attorney at or near the time it was created. Thus, the document is not privileged.

 Accordingly, defendants’ motion to dismiss count nine is DENIED.

        The Court further rejects defendants’ argument that the four grand jury subpoenas are

 vague and overbroad. Defendants do not develop this argument and only very generally make

 this assertion. The Court also rejects defendants’ argument that Giorgio cannot be liable under


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          Specifically, the documents at issue are attached as exhibits 5-7
          and 10-17 to ECF 70. In addition, the government should address
          the “correct” documents referred to in Paragraph 75 of the
          superseding indictment.


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 count seven because the subpoenas are not directed at him personally. As the government notes,

 count seven charges a conspiracy. As such, the government need only establish an agreement

 between SCI, Suarez, and Giorgio and one overt act committed by one conspirator. The

 argument is, therefore, not well-taken.

        2. Suarez’s motion

        Suarez argues that counts seven, nine, and ten must be dismissed because the grand jury

 subpoenas were directed solely at SCI. According to defendant, “the government has knowledge

 that Mr. Suarez does not even operate out of the SCI offices. The undisputed evidence proves

 that Mr. Suarez relies on his executive officers to perform the daily functions necessary for SCI

 to operate.” Suarez also argues that there are no facts pled that would support the belief that

 Suarez prevented SCI from complying with the subpoenas. He further argues that he did not

 author or receive the documents discussed in count ten. For the same reasons set forth with

 respect to defendant Giorgio, the Court rejects this argument. The government alleges that

 Girogio and Suarez conspired with SCI to obstruct justice. Therefore, the subpoena need not

 have been directed personally to Suarez for liability to attach.

        And, for the same reasons set forth above and in a separate Order, Suarez fails to

 establish that the documents referred to in count nine are privileged. Therefore, the Court will

 not dismiss that count.

        CONCLUSION

        For the foregoing reasons, defendants’ motions to dismiss are DENIED. The Court,

 however, requests that the government confirm whether it intends to rely on the documents

 discussed by defendants in their motions as overt acts. The Court requests that this information


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 be provided on or before May 14, 2014.

        IT IS SO ORDERED.




                                    /s/ Patricia A. Gaughan
                                    PATRICIA A. GAUGHAN
                                    United States District Judge

 Dated: 5/8/14




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